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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

 RICHARD A. RUPERTO, and
 KIMBERLY RUPERTO
                                                                 Case No:
                        Plaintiffs,

 vs.

 SHERIFF WILLIAM D. SNYDER,
 In his official capacity, and
 LEONARD DeBELLIS,
 Individually,
 ERIN D. KIRKWOOD,
 Individually,
 KRISTEN A. CHASE,
 Individually,
 NATIONAL CHRISTIAN
 COUNSELORS ASSOCIATION, and
 NCCCHURCH.

                    Defendants.
  ________________________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, the Plaintiff, RICHARD RUPERTO, by and through the undersigned

  counsel and sues the Defendants, SHERIFF WILLIAM D. SNYDER, LEONARD DeBELLIS,

  ERIN D. KIRKWOOD, KRISTEN A. CHASE, NATIONAL CHRISTIAN COUNSELORS

  ASSOCIATION and NCCCHURCH, for damages and Plaintiff, KIMBERLY RUPERTO, brings

  a derivative loss of consortium claim and allege as follows:

                                  JURISDICTION AND VENUE

         1.      This action arises under the Constitution and laws of the United States, particularly 42

  U.S.C. §§ 1983 and 1988, and the Fourth Amendment to the United States Constitution.

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         2.        The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343 and

  on the supplemental jurisdiction of this Court to entertain claims arising under state law pursuant to

  28 U.S.C. § 1367 and Local Rule 1.02(b)(4).

         3.        Venue is proper in this district because it is where the events complained of occurred.

         4.        This is an action for damages which exceeds the sum of Seventy Five Thousand

  Dollars ($75,000.00).

         5.        The incident which gives rise to this cause of action occurred within this jurisdiction

  and within the applicable statute of limitations and this Honorable Court has jurisdiction.

         6.        Plaintiffs have timely filed their Notice of Claim pursuant to § 768.28, Fla. Stat.

  (2013), regarding their state tort claims against Defendants. The Defendants have rejected the claim.

  There is no administrative exhaustion requirement regarding Plaintiffs’ civil rights claims under 42

  U.S.C. § 1983.

                                                PARTIES

         7.        The Plaintiff, RICHARD RUPERTO, an adult, is a natural born citizen of the United

  States, resident of Martin County, State of Florida.

         8.        The Plaintiff, KIMBERLY RUPERTO, an adult, is a natural born citizen of the

  United States, resident of Martin County, State of Florida.

         9.        Defendant, SHERIFF SNYDER, as Sheriff of the Martin County Sheriff’s

  Department, receives federal funds and by and through its officials, employees, and deputies is under

  a duty to run its policing activities in a lawful manner so as to preserve the peace to its citizens the

  rights, privileges and immunities guaranteed and secured to them by the constitutions and the laws of

  the United States and the State of Florida. Defendant, SHERIFF SNYDER, does not have immunity

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  for violating the civil rights of citizens and has waived sovereign immunity for the negligent acts or

  omissions of its employees arising out of and in the course and scope of their employment

  complained of herein pursuant to Section 768.28, Florida Statutes.

         10.     Defendant, LEONARD DeBELLIS, was at all times relevant to this Complaint duly

  appointed and acting as a Detective at the Martin County Sheriff’s Department, acting under color of

  law, to wit, under color of statutes, ordinances, regulations, policies, customs and usages of the State

  of Florida and/or the Martin County Sheriff’s Department. Defendant, LEONARD DeBELLIS, is

  sued in his individual capacity.

         11.     Defendant, ERIN D. KIRKWOOD, was at all times relevant to this Complaint duly

  appointed and acting as an Assistant State Attorney at the Office of the State Attorney, Nineteenth

  Judicial Circuit, acting under color of law, to wit, under color of statutes, ordinances, regulations,

  policies, customs and usages of the State of Florida and/or the State Attorney’s Office. Defendant,

  ERIN D. KIRKWOOD, is sued in her individual capacity.

         12.     Defendant, KRISTEN A. CHASE, was at all times relevant to this Complaint duly

  appointed and acting as an Assistant State Attorney at the Office of the State Attorney, Nineteenth

  Judicial Circuit, acting under color of law, to wit, under color of statutes, ordinances, regulations,

  policies, customs and usages of the State of Florida and/or the State Attorney’s Office. Defendant,

  KRISTEN A. CHASE, is sued in her individual capacity.

         13.     Each and all of the acts of Defendants, SHERIFF WILLIAM D. SNYDER,

  LEONARD DeBELLIS, ERIN D. KIRKWOOD and KRISTEN A. CHASE, were performed under

  the color and pretense of the constitutions, statutes, ordinances, regulations, customs and usages of

  the United States of America, and the State of Florida, under the color of law and by virtue of their

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  authority as law enforcement officers for the Defendant, Sheriff Snyder, or as Assistant State

  Attorney’s for the Nineteenth Judicial Circuit. At all times, Defendants were engaged in conduct that

  was the proximate cause of the violations of Plaintiffs’ federally protected rights and state law rights,

  as more particularized herein.

          14.     Defendant, NATIONAL CHRISTIAN COUNSELORS ASSOCIATION (NCCA),

  was at all times relevant to this Complaint a non-profit corporation, incorporated by the State of

  Florida with the principle location in Sarasota, Florida.

          15.     Defendant, NCCCHURCH (NCCC), was at all times relevant to this Complaint,

  organized as a church exclusively for charitable, religious, and educational purposes within the

  meaning of Section 501(c)(3) of the Internal Revenue Code of 1986. The NCCC functions on a local,

  national and international level and offers Christian Ordination, Licensing and Commissioning for

  ministers. The NCCC had been a registered agency in the State of Florida since 1993. The NCCC is

  now registered in the State of Tennessee.

                      FACTS GIVING RISE TO THIS CAUSE OF ACTION

          16.     On or around April 11, 2014, Detective Leonard DeBellis with the Martin County

  Sheriff’s Office received undocumented information that Richard Ruperto, Ph.D., was in violation of

  Fla. Stat. § 465.065 (1), unlicensed practice of health care professional, and Fla. Stat. § 490.012 (d),

  unlicensed practice of psychological services.

          17.     The information received on or around April 11, 2014, was an anonymous phone call

  to Detective DeBellis (date, time, and phone number reportedly not recorded by law enforcement or

  Detective DeBellis), in which the caller stated that “a friend” had seen Dr. Ruperto, and that they did

  not believe he had the necessary Florida licenses.

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         18.     Detective DeBellis contacted Florida Department of Health employee, Kevin Lapham,

  who conducted two recorded sessions with Dr. Ruperto on August 13, 2014 and August 26, 2014,

  using the undercover name of Paul LaRue.

         19.     The two recorded undercover sessions were the basis for Detective DeBellis’

  application for a search warrant on September 25, 2014, for Dr. Richard Ruperto’s office at 218 SE

  Osceola Street, Stuart, Florida, 34995.

         20.     Richard Ruperto holds a Master’s Degree in Christian Counseling from Cornerstone

  University and a Doctorate in Clinical Christian Counseling from Cornerstone University.

  Cornerstone University is accredited by the Accrediting Commission International, Inc., which

  primarily accredits religious institutes and schools. Richard Ruperto is also licensed by the National

  Christian Counselors Association, “NCCA”, and is provided Ministerial Credentials by the

  NCCCHURCH, “NCCC”. Richard Ruperto pays monthly dues to maintain the sponsorship of the

  NCCC. Richard Ruperto is a Licensed Minister of the Gospel, who can perform all Ministerial and

  Clergy functions applicable to a Licensed Minister, and is provided these credentials by the NCCC.

  The NCCA refers Christian Counselors to the NCCC as a Recognized Ministerial Credentialing

  Fellowship. Richard Ruperto has been trained by the NCCA in the following areas: Integrated

  Marriage & Family Therapy, Child and Adolescent Therapy, Substance Abuse and Addiction

  Therapy, Sexual Therapy, Death and Grief Therapy, Crisis and Abuse Therapy, Domestic Violence

  and Intervention Therapy, and Group Therapy, among other areas of study. Dr. Ruperto is board

  certified by the NCCA in the following areas: Board Certified Temperament Therapist, Board

  Certified Crisis and Abuse Therapy, Board Certified Integrated Marriage and Family Therapy, Board

  Certified Group Therapy. Dr. Ruperto has advanced board certifications by the NCCA in the

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  following areas: Death and Grief Therapy, Child and Adolescent Therapy, Substance Abuse and

  Addiction Therapy, and Group Therapy.

         21.     The NCCA has been granted a Religious Institute Letter of Exemption from the

  Florida Department of Education, Commission for Independent Education. On December 3, 2013,

  Executive Director Samuel Ferguson sent a letter to Steve Baran, President of the NCCA, confirming

  this exemption until November of 2014. The NCCA has been a registered agency in the State of

  Florida since 1992. The NCCC has been a registered agency in the State of Florida since 1993.

         22.     The NCCC denied their sponsorship of Richard Ruperto, despite that fact he had

  maintained his monthly dues.

         23.     Detective DeBellis failed to provide the Office of the State Attorney or the reviewing

  court the above information about the NCCA, the NCCC, or Dr. Ruperto’s clergy credentials in his

  Affidavit and Application for Search Warrant or prior to the execution of the Search Warrant.

         24.     On August 13, 2014, Kevin Lapham with the Florida Department of Health saw Dr.

  Richard Ruperto in an undercover capacity. Detective DeBellis never documented the portions of the

  recorded conversation on August 13, 2014, in his search warrant application, which clearly show that

  Dr. Ruperto is a Christian, who is providing Christian Counseling and advice.

         25.     Detective DeBellis states in his application for search warrant, “Ruperto displays a

  Pastoral Medical Association (PMA), division of License and Regulation; which is not a valid

  license in the State of Florida. In the PMA directory Ruperto lists his specialties as auricular,

  counseling (general health – mental health – nutrition – spiritual – education and degree programs –

  multiple modalities – pastoral licensing).”



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         26.     In his Affidavit, Detective DeBellis did not list nor did he even mention the multiple

  certificates, diplomas, and documentation displayed in Dr. Ruperto’s office that show his education,

  and certifications with the NCCA or the NCCC.

         27.     Detective DeBellis’ Affidavit and Search Warrant Application states that Dr. Ruperto

  was in violation of the following Florida Statutes:

                 a.      F.S.S. 456.065 Unlicensed practice of health care practitioner, X2.

                 b.      F.S.S. 490.012 (d) Unlicensed practice of psychological services, X2.

                 c.      F.S.S. 490.012 (j) Unlicensed marriage counselor, X2.

         28.     Detective DeBellis’ search warrant application for Dr. Ruperto’s Office, did not

  mention his licensing with the NCCA or the NCCC. It does not include any reference to Dr. Ruperto

  being trained as a licensed Clinical Christian Counselor. Additionally, Detective DeBellis never

  inquired into the level of training and education that was necessary for Dr. Ruperto to earn his

  degrees, certificates, and licensing through the NCCA.

         29.     Detective DeBellis never had any complaint that Dr. Ruperto was practicing

  acupuncture, acupressure, massage, nutritional counseling, or writing prescriptions. Nonetheless,

  Detective DeBellis wrote in his Search Warrant Application in the Property Sought Section (and also

  included in the Search Warrant) that the affiant has good reason to believe that there is now being

  kept in the above premises the following:

                 4.) Pamphlets, degrees, and all certificates indicating training, experience in the

                 practice of acupuncture, acupuncture without needles, acupressure, massage

                 nutritional counseling, and any health care practice, or other health care profession.

                 7.) Any prescription pads or papers.

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         30.     Detective DeBellis was recorded during the reading of the Search Warrant to Dr.

  Richard Ruperto, and omits reading section 4.) of the Search Warrant in detail, which states:

  “Pamphlets, degrees, and all certifications indicating training, experience in the practice of

  acupuncture, acupuncture without needles, acupressure, massage nutritional counseling, and any

  health care practice, or other health care profession. (emphasis added) Rather, Detective DeBellis

  states the following: “Pamphlets, degrees, and all certificates indicating training, experience in the

  practice...ok, of and any health care practice, or other health care profession.”

         31.     Detective DeBellis willfully omitted the reading to Dr. Ruperto of the portion of the

  search warrant dealing with acupuncture, massage, and nutritional counseling.

         32.     Detective DeBellis willfully omitted from the Application for Search warrant,

  material factors relating to Clinical Christian Counseling, Dr. Ruperto’s education and training, Dr.

  Ruperto’s clergy credentials, as well as Florida Statutory Exemptions relating directly to Christian

  Counseling. Detective DeBellis willfully included in his Application for Search Warrant allegations

  of illegal activity to be found on premises, to include: acupuncture, massage, and nutritional

  counseling. This information was never investigated and there was no basis for even arguable

  Probable Cause or even a Reasonable Suspicion that Dr. Ruperto should have been investigated for

  the alleged illegal practice of acupuncture, massage, or nutritional counseling, which lead to the

  Court’s determination of Probable Cause.

         33.     Detective DeBellis willfully included in his Application for Search Warrant

  allegations of the use of prescription pads or papers. This was never mentioned in the investigation,

  undercover visits, or the alleged “anonymous call” that Detective DeBellis received, and should not

  have been included in the Property Sought.

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         34.     As a result of the Affidavit, Mr. Ruperto was arrested on September 25, 2014, and

  spent 1 day in jail on Martin County Sheriff’s Office Agency Case Number 14-7630 and Martin

  County Case Number 14-1188.

         35.     Following Mr. Ruperto’s arrest on September 25, 2014, Assistant State Attorney, Erin

  D. Kirkwood, met with Plaintiff’s Criminal Defense Attorneys, Lily McCarty and Maria Pavlidis.

  The Defense attorneys explained Mr. Ruperto’s clergy credentials and his licensing with the NCCA

  and the NCCC. This information put Assistant State Attorney, Erin D. Kirkwood, on notice that Mr.

  Ruperto clearly fell within the Florida Statutory Exemptions relating directly to Christian

  Counseling.

         36.     In late December 2014, even with the information provided by the Criminal Defense

  Attorneys, Assistant State Attorney, Erin D. Kirkwood, filed an Information in Case Number 14-

  1188, charging Mr. Ruperto with two additional counts of Unlicensed Practice of a Health Care

  Professional; two counts of Unlawful Description of Clinical Counseling or Psychotherapy Services;

  two counts of Practicing Psychology without a License; five counts of Unlawful Use of the Word

  Psychotherapy; and one count of Unlawful Use of the Words Psychological or Psychodiagnostic. The

  capias specifically listed Martin County Sheriff’s Office Agency Number 14-7630, the same

  investigation that Mr. Ruperto was arrested for on September 25, 2014.

         37.     On January 6, 2015, Mr. Ruperto turned himself in on these charges as soon as his

  counsel was advised the capias was active and spent 1 day in jail.

         38.     On March 20, 2015, Detective DeBellis filed another Complaint Affidavit that Dr.

  Ruperto was in violation of the following Florida Statutes:

                 a.     F.S.S. 817.034(4)(a)(3) Scheme to Defraud

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                 b.      F.S.S. 456.065(2)(d)(1) Unlicensed Practice of a Health Care Practitioner X3

                 c.      F.S.S. 490.012(6) Unlicensed Practice of Psychology X3

         39.     The arrest warrant signed on March 20, 2015, lists seven counts dating “on or about

  July 1, 2012”. These dates are clearly outside the statute of limitations for the three listed

  misdemeanor counts. Fla. Stat. § 775.15 (1)(c) states “A prosecution for a misdemeanor of the first

  degree must be commenced within 2 years after it is committed.” The Arrest Warrant specifies for

  Counts 5, 6, and 7, “On or about July 1, 2012 Richard Ruperto did practice psychology for

  compensation, without holding an active, valid license to practice psychology issued pursuant to

  Florida Statutes chapter 490, in violation of Florida Statute 490.012 (4),(6).”

         40.     The Complaint Affidavit lists three specified victims; Patricia Adams, Anne

  Sammito, and Stephen Jarrett. According to the sworn testimony of Leonard DeBellis, Ms. Adams

  was interviewed on October 14, 2014, at the Martin County Sheriff’s Office; Mr. Jarrett was

  interviewed at the Martin County Sheriff’s Office on November 12, 2014; and Ms. Sammito was

  interviewed on November 14, 2014. These interviews occurred prior to the Office of the State

  Attorney filing the Information on January 6, 2015 in Case Number 14-1188, and clearly were able

  to be filed with the initial Information in case 14-1188. These additional charges Mr. Ruperto was

  arrested for on March 21, 2015 concern the same investigation, in Agency Number 14-7630, and the

  very same time period of his two prior arrests in September 2014 and January 2015.

         41.     Assistant State Attorney, KRISTEN A. CHASE, pursued these additional charges

  against Plaintiff, even with the knowledge that the Statute of Limitations had already passed.

         42.     Law Enforcement and the State Attorney’s Office purposely withheld the interviews

  with the above listed alleged victims, in an effort to arrest Mr. Ruperto on multiple occasions, and in

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  an attempt to create more than one case file. These are deliberate actions aimed at continuously

  harassing and obtaining multiple arrest warrants for Mr. Ruperto.

          43.    Mr. Ruperto was arrested for the third time on March 21, 2015 and spent six days in

  jail.

          44.    Ultimately, all false charges were either Nolle Prossed or no-filed by the State

  Attorney’s Office by September 3, 2015.

          45.    As a result of the three false arrests, Mr. Ruperto sent a total of eight days in jail.

                                       CLAIMS FOR RELIEF

                                        COUNT I
                  42 U.S. 1983 – FALSE ARREST ON SEPTEMBER 25, 2014
                                   LEONARD DeBELLIS

          46.    Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

          47.    Plaintiff, RICHARD RUPERTO, was unlawfully seized by Defendant, LEONARD

  DeBELLIS, through the intentional use of force and confinement, when Defendant, LEONARD

  DeBELLIS, caused and authorized the detention of Plaintiff, RICHARD RUPERTO, when he

  applied for a search warrant for Plaintiff, RICHARD RUPERTO, and filed a Complaint Affidavit,

  which led to the arrest of Plaintiff, RICHARD RUPERTO, on September 25, 2014.

          48.    The seizure and arrest of Plaintiff, RICHARD RUPERTO, without arguable probable

  cause violated Plaintiff’s Fourth Amendment rights.

          49.    Based on the facts and circumstances within Defendant, LEONARD DeBELLIS’,

  knowledge, assuming he had reasonably trustworthy information, would not cause a prudent person



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  to believe, under the circumstances shown, that Plaintiff, RICHARD RUPERTO, had committed or

  was committing an offense.

           50.     A reasonable officer in the same circumstances and possessing the same knowledge as

  Defendant, LEONARD DeBELLIS, could not have believed that arguable probable cause existed to

  arrest Plaintiff, RICHARD RUPERTO. Specifically, based on the exemption provided in Fla. Stat. §

  491.014 (3), regarding the activities of a rabbi, priest, minister, or member of the clergy of any

  religious denomination or sect, or use of the terms “Christian counselor” or “Christian clinical

  counselor” when the activities are within the scope of the performance of his or her regular or

  specialized ministerial duties and no compensation is received by him or her, or when such activities

  are performed, with or without compensation, by a person for or under the auspices or sponsorship,

  individually or in conjunction with others, of an established and legally cognizable church,

  denomination or sect, and when the person rendering services remains accountable to the established

  authority thereof.

          51.      The unlawful seizure caused the Plaintiff to suffer mental anguish, loss of capacity for

  the enjoyment of life, loss of employment and attorneys’ fees incurred to secure his release from the

  illegal restraint, humiliation, embarrassment, shame, fright, disgrace, injury to his feelings, and loss

  of reputation.

                                           COUNT II
                       42 U.S. 1983 – FALSE ARREST ON JANUARY 6, 2015
                                       LEONARD DeBELLIS

          52.      Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:



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         53.     Plaintiff, RICHARD RUPERTO, was unlawfully seized by Defendant, LEONARD

  DeBELLIS, through the intentional use of force and confinement, when Defendant, LEONARD

  DeBELLIS, caused and authorized the detention of Plaintiff, RICHARD RUPERTO, when he

  applied for a search warrant for Plaintiff, RICHARD RUPERTO, and filed a Complaint Affidavit,

  which led to the arrest of Plaintiff, RICHARD RUPERTO, on January 6, 2015.

         54.     The seizure and arrest of Plaintiff, RICHARD RUPERTO, without arguable probable

  cause violated Plaintiff’s Fourth Amendment rights.

         55.     Based on the facts and circumstances within Defendant, LEONARD DeBELLIS’,

  knowledge, assuming he had reasonably trustworthy information, would not cause a prudent person

  to believe, under the circumstances shown, that Plaintiff, RICHARD RUPERTO, had committed or

  was committing an offense.

         56.     A reasonable officer in the same circumstances and possessing the same knowledge as

  Defendant, LEONARD DeBELLIS, could not have believed that arguable probable cause existed to

  arrest Plaintiff, RICHARD RUPERTO. Specifically, based on the exemption provided in Fla. Stat. §

  491.014 (3), regarding the activities of a rabbi, priest, minister, or member of the clergy of any

  religious denomination or sect, or use of the terms “Christian counselor” or “Christian clinical

  counselor” when the activities are within the scope of the performance of his or her regular or

  specialized ministerial duties and no compensation is received by him or her, or when such activities

  are performed, with or without compensation, by a person for or under the auspices or sponsorship,

  individually or in conjunction with others, of an established and legally cognizable church,

  denomination or sect, and when the person rendering services remains accountable to the established

  authority thereof.

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          57.      The unlawful seizure caused the Plaintiff to suffer mental anguish, loss of capacity for

  the enjoyment of life, loss of employment and attorneys’ fees incurred to secure his release from the

  illegal restraint, humiliation, embarrassment, shame, fright, disgrace, injury to his feelings, and loss

  of reputation.

                                           COUNT III
                       42 U.S. 1983 – FALSE ARREST ON MARCH 21, 2015
                                       LEONARD DeBELLIS

          58.      Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

          59.      Plaintiff, RICHARD RUPERTO, was unlawfully seized by Defendant, LEONARD

  DeBELLIS, through the intentional use of force and confinement, when Defendant, LEONARD

  DeBELLIS, caused and authorized the detention of Plaintiff, RICHARD RUPERTO, when he filed

  another Complaint Affidavit that Plaintiff was in violation of Florida Statutes: F.S.S. 817.034(4)(a)3

  Scheme to Defraud; F.S.S. 456.065(2)(d)(1) Unlicensed Practice of a Health Care Practitioner X3;

  and F.S.S. 490.012(6) Unlicensed Practice of Psychology X3, which led to the arrest of Plaintiff,

  RICHARD RUPERTO, on March 21, 2015.

          60.      The arrest warrant signed on March 20, 2015, lists seven counts dating “on or about

  July 1, 2012”. These dates are clearly outside the statute of limitations for the three listed

  misdemeanor counts.

          61.      The Complaint Affidavit lists three specified victims; Patricia Adams, Anne

  Sammito, and Stephen Jarrett. According to the sworn testimony of Leonard DeBellis, Ms. Adams

  was interviewed on October 14, 2014, at the Martin County Sheriff’s Office; Mr. Jarrett was

  interviewed at the Martin County Sheriff’s Office on November 12, 2014; and Ms. Sammito was

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  interviewed on November 14, 2014. These interviews occurred prior to the Office of the State

  Attorney filing the Information on January 6, 2015 in Case Number 14-1188, and clearly were able

  to be filed with the initial Information in case 14-1188. These additional charges Mr. Ruperto was

  arrested for on March 21, 2015 concern the same investigation, in Agency Number 14-7630, and the

  very same time period of his two prior arrests in September 2014 and January 2015.

          62.      Defendant, LEONARD DeBELLIS, purposely withheld the interviews with the above

  listed alleged victims, in an effort to arrest Mr. Ruperto on multiple occasions, and in an attempt to

  create more than one case file. These are deliberate actions aimed at continuously harassing and

  obtaining multiple arrest warrants for Mr. Ruperto.

          63.      The seizure and arrest of Plaintiff, RICHARD RUPERTO, without arguable probable

  cause violated Plaintiff’s Fourth Amendment rights.

          64.      Based on the facts and circumstances within Defendant, LEONARD DeBELLIS’,

  knowledge, assuming he had reasonably trustworthy information, would not cause a prudent person

  to believe, under the circumstances shown, that Plaintiff, RICHARD RUPERTO, had committed or

  was committing an offense.

          65.      A reasonable officer in the same circumstances and possessing the same knowledge as

  Defendant, LEONARD DeBELLIS, could not have believed that arguable probable cause existed to

  arrest Plaintiff, RICHARD RUPERTO.

          66.      The unlawful seizure caused the Plaintiff to suffer mental anguish, loss of capacity for

  the enjoyment of life, loss of employment and attorneys’ fees incurred to secure his release from the

  illegal restraint, humiliation, embarrassment, shame, fright, disgrace, injury to his feelings, and loss

  of reputation.

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                                           COUNT IV
                           42 U.S. 1983 – MALICIOUS PROSECUTION
                                      LEONARD DeBELLIS

         67.     Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

         68.     As a result of the actions taken by Defendant, LEONARD DeBELLIS, original

  judicial proceeding against present plaintiff was commenced and/or continued.

         69.     Defendant, LEONARD DeBELLIS’, failed to consider potentially exculpatory

  information and refused to investigate impartially. Due to his improper actions, the Judge was

  presented with false and misleading information. The criminal prosecution was a natural

  consequence of the defendants' deceptive account of the actions of Plaintiff, RICHARD RUPERTO,

  and its surrounding circumstances.

         70.     Defendant, LEONARD DeBELLIS, was the legal cause of original proceeding.

         71.     The original proceedings constituted bona fide termination of that proceeding in favor

  of the Plaintiff. Ultimately, all twenty-five false charges were either Nolle Prossed or no-filed by the

  State Attorney’s Office by September 3, 2015.

         72.     There was no probable cause for the original proceeding.

         73.     The actions of Defendant, LEONARD DeBELLIS, were done with malice.

         74.     Plaintiff, RICHARD RUPERTO, suffered damages as result of the false arrest.

                                            COUNT V
                           42 U.S. 1983 – MALICIOUS PROSECUTION
                                      ERIN D. KIRKWOOD

         75.     Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

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          76.    As a result of the actions taken by Defendant, ERIN D. KIRKWOOD, original

  judicial proceeding against present plaintiff was commenced and/or continued.

          77.    Defendant, ERIN D. KIRKWOOD, knew Mr. Ruperto’s clergy credentials and his

  licensing with the NCCA and the NCCC. She knew that Mr. Ruperto clearly fell within the Florida

  Statutory Exemptions relating directly to Christian Counseling.

          78.    In spite of that information, Defendant, ERIN D. KIRKWOOD, still filed an

  Information in Case Number 14-1188, charging Mr. Ruperto with two additional counts of

  Unlicensed Practice of a Health Care Professional; two counts of Unlawful Description of Clinical

  Counseling or Psychotherapy Services; two counts of Practicing Psychology without a License; five

  counts of Unlawful Use of the Word Psychotherapy; and one count of Unlawful Use of the Words

  Psychological or Psychodiagnostic. The capias specifically listed Martin County Sheriff’s Office

  Agency Number 14-7630, the same investigation that Mr. Ruperto was arrested for on September 25,

  2014.

          79.    Defendant, ERIN D. KIRKWOOD, was the legal cause of original proceeding.

          80.    The original proceedings constituted bona fide termination of that proceeding in favor

  of the Plaintiff. Ultimately, all twenty-five false charges were either Nolle Prossed or no-filed by the

  State Attorney’s Office by September 3, 2015.

          81.    There was no probable cause for the original proceeding.

          82.    The actions of Defendant, ERIN D. KIRKWOOD, were done with malice.

          83.    Plaintiff, RICHARD RUPERTO, suffered damages as result of the malicious

  prosecution.



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                                           COUNT VI
                           42 U.S. 1983 – MALICIOUS PROSECUTION
                                       KRISTEN A. CHASE

         84.     Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

         85.     As a result of the actions taken by Defendant, KRISTEN A. CHASE, original judicial

  proceeding against present plaintiff was commenced and/or continued.

         86.     Defendant, KRISTEN A. CHASE, pursued additional charges against Plaintiff, even

  with the knowledge that the Statute of Limitations had already passed.

         87.     Defendant, KRISTEN A. CHASE, purposely withheld the interviews with the above

  listed alleged victims, in an effort to arrest Mr. Ruperto on multiple occasions, and in an attempt to

  create more than one case file. These are deliberate actions aimed at continuously harassing and

  obtaining multiple arrest warrants for Mr. Ruperto.

         88.     Defendant, KRISTEN A. CHASE, was the legal cause of original proceeding.

         89.     The original proceedings constituted bona fide termination of that proceeding in favor

  of the Plaintiff. Ultimately, all twenty-five false charges were either Nolle Prossed or no-filed by the

  State Attorney’s Office by September 3, 2015.

         90.     There was no probable cause for the original proceeding.

         91.     The actions of Defendant, KRISTEN A. CHASE, were done with malice.

         92.     Plaintiff, RICHARD RUPERTO, suffered damages as result of the malicious

  prosecution.




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                                         STATE LAW CLAIMS

                                          COUNT VII
                              STATE LAW CLAIM - FALSE ARREST –
                                DEFENDANT, LEONARD DeBELLIS
                              (BAD FAITH, WILLFUL AND WANTON)

          93.      The Plaintiff re-alleges each and every allegation as set forth in the factual allegations

  in counts 1- 45.

          94.      At all times relevant herein, Defendant, LEONARD DeBELLIS, acted with the

  intention of confining the Plaintiff within fixed boundaries. The acts directly or indirectly resulted in

  confinement, and the Plaintiff was conscious of the confinement.

          95.      Defendant, LEONARD DeBELLIS, acted in bad faith and with malicious purpose as

  the Plaintiff had committed no illegal acts.

          96.      The Defendant, LEONARD DeBELLIS’, actions were unreasonable and unwarranted

  under the circumstances.

          97.      As a further direct and proximate result of the acts, omissions, and conduct of the

  Defendant, LEONARD DeBELLIS, the Plaintiff suffered from mental anguish, loss of capacity for

  the enjoyment of life, loss of employment and attorneys’ fees incurred to secure his release from the

  illegal restraint, humiliation, embarrassment, shame, fright, disgrace, injury to his feelings, and loss

  of reputation.




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                                      COUNT VIII
                              STATE LAW FALSE ARREST –
                        DEFENDANT, SHERIFF WILLIAM SNYDER FOR
                             ACTIONS OF LEONARD DeBELLIS
                          (COURSE AND SCOPE OF EMPLOYMENT)

         98.     The Plaintiff re-alleges each and every allegation as set forth in the factual allegations

  in counts 1- 45.

         99.     Defendant, LEONARD DeBELLIS’, actions in holding Plaintiff against his will,

  without probable cause, without process or authority of law, constitute wrongful, unlawful false

  imprisonment which is actionable against Defendant, SHERIFF SNYDER.

         100.    The Defendant, LEONARD DeBELLIS, knew or had the opportunity to know, and

  should have known, the false imprisonment of Plaintiff was without legal justification.

         101.    Alternatively to Count VII, the actions of Defendant, LEONARD DeBELLIS, were

  performed in the course and scope of his employment with the Martin County Sheriff’s Department

  and without bad faith, malicious purpose and not in a manner exhibiting wanton and willful

  disregard of human rights, safety and property.

         102.    As a direct and proximate result of the acts of Defendant, LEONARD DeBELLIS,

  Plaintiff was arrested, detained, confined in jail and suffered from mental anguish, loss of capacity

  for the enjoyment of life, loss of employment and attorneys’ fees incurred to secure his release from

  the illegal restraint, humiliation, embarrassment, shame, fright, disgrace, injury to his feelings, and

  loss of reputation.

         103.    Defendant, LEONARD DeBELLIS’, conduct is actionable against Defendant,

  SHERIFF SNYDER, pursuant to § 768.28, Fla. Stat. (2009).



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                                         COUNT IX
                              STATE LAW CLAIM - FALSE ARREST –
                                      DEFENDANT, NCCA

         104.      The Plaintiff re-alleges each and every allegation as set forth in the factual allegations

  in counts 1- 45.

         105.      At all times relevant herein, Defendant, NCCA, intentionally provided false

  information which cause the intentional confinement of the Plaintiff within fixed boundaries. The

  acts directly or indirectly resulted in confinement, and the Plaintiff was conscious of the

  confinement.

         106.      The Defendant, NCCA’s, actions were unreasonable and unwarranted under the

  circumstances.

         107.      As a further direct and proximate result of the acts, omissions, and conduct of the

  Defendant, NCCA, the Plaintiff suffered from mental anguish, loss of capacity for the enjoyment of

  life, loss of employment and attorneys’ fees incurred to secure his release from the illegal restraint,

  humiliation, embarrassment, shame, fright, disgrace, injury to his feelings, and loss of reputation.

                                          COUNT X
                              STATE LAW CLAIM - FALSE ARREST –
                                      DEFENDANT, NCCC

         108.      The Plaintiff re-alleges each and every allegation as set forth in the factual allegations

  in counts 1- 45.

         109.      At all times relevant herein, Defendant, NCCC, intentionally provided false

  information which cause the intentional confinement of the Plaintiff within fixed boundaries. The

  acts directly or indirectly resulted in confinement, and the Plaintiff was conscious of the

  confinement.

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         110.      The Defendant, NCCC’s, actions were unreasonable and unwarranted under the

  circumstances.

         111.      As a further direct and proximate result of the acts, omissions, and conduct of the

  Defendant, NCCC, the Plaintiff suffered from mental anguish, loss of capacity for the enjoyment of

  life, loss of employment and attorneys’ fees incurred to secure his release from the illegal restraint,

  humiliation, embarrassment, shame, fright, disgrace, injury to his feelings, and loss of reputation.

                                     COUNT XI
                      STATE LAW CLAIM –MALICIOUS PROSECUTION–
                            DEFENDANT, LEONARD DeBELLIS

         112.      The Plaintiff re-alleges each and every allegation as set forth in the factual allegations

  in counts 1- 45.

         113.      As a result of the actions taken by Defendant, LEONARD DeBELLIS, original

  judicial proceeding against present plaintiff was commenced and/or continued.

         114.      Defendant, LEONARD DeBELLIS’, failed to consider potentially exculpatory

  information and refused to investigate impartially. Due to his improper actions, the Judge was

  presented with false and misleading information. The criminal prosecution was a natural

  consequence of the defendants' deceptive account of the actions of Plaintiff, RICHARD RUPERTO,

  and its surrounding circumstances.

         115.      Defendant, LEONARD DeBELLIS, was the legal cause of original proceeding.

         116.      The original proceedings constituted bona fide termination of that proceeding in favor

  of the Plaintiff. Ultimately, all twenty-five false charges were either Nolle Prossed or no-filed by the

  State Attorney’s Office by September 3, 2015.

         117.      There was no probable cause for the original proceeding.

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          118.   The actions of Defendant, LEONARD DeBELLIS, were done with malice.

          119.   Plaintiff, RICHARD RUPERTO, suffered damages as result of the false arrest and

  malicious prosecution.

                                    COUNT XII
                     STATE LAW CLAIM –MALICIOUS PROSECUTION
                                ERIN D. KIRKWOOD

          120.   Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

          121.   As a result of the actions taken by Defendant, ERIN D. KIRKWOOD, original

  judicial proceeding against present plaintiff was commenced and/or continued.

          122.   Defendant, ERIN D. KIRKWOOD, knew Mr. Ruperto’s clergy credentials and his

  licensing with the NCCA and the NCCC. She knew that Mr. Ruperto clearly fell within the Florida

  Statutory Exemptions relating directly to Christian Counseling.

          123.   In spite of that information, Defendant, ERIN D. KIRKWOOD, still filed an

  Information in Case Number 14-1188, charging Mr. Ruperto with two additional counts of

  Unlicensed Practice of a Health Care Professional; two counts of Unlawful Description of Clinical

  Counseling or Psychotherapy Services; two counts of Practicing Psychology without a License; five

  counts of Unlawful Use of the Word Psychotherapy; and one count of Unlawful Use of the Words

  Psychological or Psychodiagnostic. The capias specifically listed Martin County Sheriff’s Office

  Agency Number 14-7630, the same investigation that Mr. Ruperto was arrested for on September 25,

  2014.

          124.   Defendant, ERIN D. KIRKWOOD, was the legal cause of original proceeding.



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         125.    The original proceedings constituted bona fide termination of that proceeding in favor

  of the Plaintiff. Ultimately, all twenty-five false charges were either Nolle Prossed or no-filed by the

  State Attorney’s Office by September 3, 2015.

         126.    There was no probable cause for the original proceeding.

         127.    The actions of Defendant, ERIN D. KIRKWOOD, were done with malice.

         128.    Plaintiff, RICHARD RUPERTO, suffered damages as result of the malicious

  prosecution.

                                    COUNT XIII
                      STATE LAW CLAIM –MALICIOUS PROSECUTION
                                 KRISTEN A. CHASE

         129.    Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

         130.    As a result of the actions taken by Defendant, KRISTEN A. CHASE, original judicial

  proceeding against present plaintiff was commenced and/or continued.

         131.    Defendant, KRISTEN A. CHASE, pursued additional charges against Plaintiff, even

  with the knowledge that the Statute of Limitations had already passed.

         132.    Defendant, KRISTEN A. CHASE, purposely withheld the interviews with the above

  listed alleged victims, in an effort to arrest Mr. Ruperto on multiple occasions, and in an attempt to

  create more than one case file. These are deliberate actions aimed at continuously harassing and

  obtaining multiple arrest warrants for Mr. Ruperto.

         133.    Defendant, KRISTEN A. CHASE, was the legal cause of original proceeding.




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         134.    The original proceedings constituted bona fide termination of that proceeding in favor

  of the Plaintiff. Ultimately, all twenty-five false charges were either Nolle Prossed or no-filed by the

  State Attorney’s Office by September 3, 2015.

         135.    There was no probable cause for the original proceeding.

         136.    The actions of Defendant, KRISTEN A. CHASE, were done with malice.

         137.    Plaintiff, RICHARD RUPERTO, suffered damages as result of the malicious

  prosecution.

                                       COUNT XIV
                              STATE LAW CLAIM – NEGLIGENCE
                             NATIONAL CHRISTIAN COUNSELORS

         138.    Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

         139.    Defendant owed a duty to provide accurate information to law enforcement when

  questioned about their sponsorship and credentialing of individuals.

         140.    At all times material, Defendant breached this duty of care to Plaintiff when they

  denied their sponsorship of Plaintiff even after Plaintiff continuously paid his monthly dues to retain

  the sponsorship.

         141.    The Defendant was negligent in that it failed to provide accurate information to law

  enforcement regarding their sponsorship of Plaintiff.

         142.    As a direct and proximate result of Defendant’s negligence, Mr. Ruperto was arrested

  and taken into custody by the Martin County Sheriff’s Office.

         143.    The conduct complained of demonstrates reckless, culpable conduct to the level of

  punitive damages.

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         144.    Plaintiff, RICHARD RUPERTO, suffered damages as result of the negligence

                                        COUNT XV
                               STATE LAW CLAIM – NEGLIGENCE
                                       NCCCHURCH

         145.    Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1- 45 above, and further alleges:

         146.    Defendant owed a duty to provide accurate information to law enforcement when

  questioned about their sponsorship and credentialing of individuals.

         147.    At all times material, Defendant breached this duty of care to Plaintiff when they

  denied their sponsorship of Plaintiff even after Plaintiff continuously paid his monthly dues to retain

  the sponsorship.

         148.    The Defendant was negligent in that it failed to provide accurate information to law

  enforcement regarding their sponsorship of Plaintiff.

         149.    As a direct and proximate result of Defendant’s negligence, Mr. Ruperto was arrested

  and taken into custody by the Martin County Sheriff’s Office.

         150.    The conduct complained of demonstrates reckless, culpable conduct to the level of

  punitive damages.

         151.    Plaintiff, RICHARD RUPERTO, suffered damages as result of the negligence

                                   COUNT XVI
                LOSS OF CONSORTIUM - DEFENDANT, LEONARD DeBELLIS

         152.    The Plaintiffs incorporate by reference all allegations contained in the preceding

  paragraphs 1 – 45 of this Complaint, as if fully set forth herein.




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         153.     At the time of the incidents described in the Complaint, RICHARD RUPERTO and

  KIMBERLY RUPERTO, were married and continue to be married.

         154.     As a result of the wrongful and unlawful acts of Defendant, DeBELLIS, Mr. and Mrs.

  Ruperto were caused to suffer, and will continue to suffer in the future, loss of consortium, loss of

  society, affection, assistance, and conjugal fellowship, all to the detriment of their marital

  relationship.

         155.     All the aforesaid injuries and damages were caused solely and proximately by the acts

  of Defendant, DeBELLIS.

                                   COUNT XVII
                  LOSS OF CONSORTIUM - DEFENDANT, ERIN KIRKWOOD

         156.     The Plaintiffs incorporate by reference all allegations contained in the preceding

  paragraphs 1 – 45 of this Complaint, as if fully set forth herein.

         157.     At the time of the incidents described in the Complaint, RICHARD RUPERTO and

  KIMBERLY RUPERTO, were married and continue to be married.

         158.     As a result of the wrongful and unlawful acts of Defendant, ERIN KIRKWOOD, Mr.

  and Mrs. Ruperto were caused to suffer, and will continue to suffer in the future, loss of consortium,

  loss of society, affection, assistance, and conjugal fellowship, all to the detriment of their marital

  relationship.

         159.     All the aforesaid injuries and damages were caused solely and proximately by the acts

  of Defendant, ERIN KIRKWOOD.




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                                   COUNT XVIII
                  LOSS OF CONSORTIUM - DEFENDANT, KRISTEN CHASE

          160. The Plaintiffs incorporate by reference all allegations contained in the preceding

  paragraphs 1 – 45 of this Complaint, as if fully set forth herein.

          161. At the time of the incidents described in the Complaint, RICHARD RUPERTO and

  KIMBERLY RUPERTO, were married and continue to be married.

          162. As a result of the wrongful and unlawful acts of Defendant, KRISTEN CHASE, Mr.

  and Mrs. Ruperto were caused to suffer, and will continue to suffer in the future, loss of consortium,

  loss of society, affection, assistance, and conjugal fellowship, all to the detriment of their marital

  relationship.

          163. All the aforesaid injuries and damages were caused solely and proximately by the acts

  of Defendant, KRISTEN CHASE.

                                              DAMAGES

         164.     Plaintiffs re-allege and incorporate by reference the allegations contained in

  paragraphs 1-163 above, and further allege:

         165.     As a direct and proximate result of the aforementioned actions and omissions of the

  Defendants, Plaintiff, RICHARD RUPERTO’S, constitutional rights were violated and Plaintiffs

  suffered injuries and damages. Plaintiffs seek recovery from the Defendants of all damages to which

  they may be entitled under both state and federal law for the injuries and damages they sustained and

  which include, but are not limited to, the following:

                  a.     Emotional Pain and Suffering of a past, present and future nature;

                  b.     Loss of Enjoyment of Life of a past, present and future nature;

                  c.     Loss of Employment
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               d.      Punitive damages against the Defendants sued in their individual capacity;

               e.      Pre and Post-Judgment Interest for all 42 UCS § 1983 claims;

               f.      Post-Judgment Interest for any state law claim;

               g.      Loss of Consortium

               h.      Statutory and Discretionary Costs;

               i.      Attorney’s fees where permitted by 42 USC § 1988 or state law;

               j.      All such further relief, both general and specific, to which he may be entitled
                       under the premises.

                                  DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a jury trial on all issues so triable.

  Dated: September 25, 2018.
                                                  Respectfully submitted,

                                                  s/Michael P. Maddux__________________
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